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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-00152-PAB-STV

   JOHN DOE,

              Plaintiff,

   v.

   UNIVERSITY OF DENVER, et al.

              Defendants.

                              DECLARATION OF MARISA AYA GRUBER

              MARISA AYA GRUBER hereby declares, subject to the penalties of perjury pursuant to
   28 U.S.C. § 1746:
              1.    I submit this declaration as an expert for Plaintiff John Doe (“John Doe” or
   “Plaintiff”). It is my understanding that Defendants recently made a motion to exclude portions
   of my expert report and preclude me from testifying in this action. I submit this declaration in
   support of Plaintiff’s response to that motion.
              2.    I have attached a true and correct copy of the most recent version of my Curriculum
   Vitae as Exhibit 1.
              3.    I have attached a true and correct copy of the expert report that I prepared for this
   case as Exhibit 2.
   I.         Background: The Impact of Feminist Legal Theory and Feminist
              Reforms on Procedures in Sexual Assault Cases             __

              4.      For over twenty years, I have researched and written about the tension between the
   process rights of those accused of rape and the need to address the problem of rape, within an
   ostensibly rape-permissive society. More specifically, I have engaged in research and writing
   about reforms that expand substantive definitions of rape and sexual assault and reduce procedural
   protections for accuseds in an effort to reduce violence against women, change cultural and social
   norms regarding sexual behavior, counter “rape myths,” and encourage women to report sexual
   assault.
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          5.      My articles that discuss the influence of feminist ideas and proposals on sexual
   assault law and policy include: (i) Pink Elephants in the Rape Trial: The Problem of Tort-Type
   Defenses in the Criminal Law of Rape, 4 WM. & MARY J. WOMEN & L. 203 (1998) (hereinafter
   “Pink Elephants”); (ii) Rape, Feminism, and the War on Crime, 84 WASH. L. REV. 581 (2009); (iii)
   Neofeminism, 50 HOUSTON L. REV. 1325 (2013); (iv) Anti-Rape Culture, 64 U. KANSAS L. REV.
   1027 (2016); (v) Rape Law Revisited, 13 OHIO ST. J. CRIM. L. 279 (2016); (vi) Not Affirmative
   Consent, 47 MCGEORGE L. REV. 683 (2016); and (vii) Consent Confusion, 38 CARDOZO L. REV.
   415 (2016). I have attached true and correct copies of these articles to this declaration as Exhibits
   3-9. Pink Elephants, published in 1998, for example, discusses extensively the “tension between
   feminism and fair trial” in the context of rape shield reforms. Ex. 3, Pink Elephants, 4 WM. &
   MARY J. WOMEN & L. at 210.
          6.      More specifically, my scholarship discusses the history and prevalence of the sexist
   belief that women who claim to have been raped are particularly untrustworthy as compared to
   other classes of victims/witnesses. In response, feminist writers publicized the famous “2%”
   statistic, which has been hotly contested, to publicize the notion that rape complainants are more
   credible than other types of complainants. See Ex. 4, Rape Feminism and the War on Crime, 84
   WASH. L. REV. at 590-602 (discussing how pre-reform doctrine perpetuated the image of the lying
   vindictive shrew, how this image continued to be salient in modern times, and how feminism
   sought to counter those beliefs through publicizing low false-report statistics and transforming trial
   processes). Reformers also argued that rape complainants have superior credibility because the
   stigma attached to reporting rape naturally filtered out those who might fabricate. See Ex. 7, Rape
   Law Revisited, 13 OHIO ST. J. CRIM. L. at 287. This “believe the victim” mantra was developed to
   encourage sexist police and prosecutors to credit victims and pursue cases, unless and until they
   discovered compelling evidence of untruthfulness. It was also meant to counteract fact-finders’
   sexist presumptions that rape complainants are particularly prone to fabrication. See sources cited
   supra and footnotes cited therein.
          7.      In the post-Dear Colleague Letter era, the “believe the victim” mantra has become
   decontextualized from its historical purposes. It no longer simply exhorts police not to arbitrarily
   drop cases or sexist factfinders to consider rape complainants like all other complainants, but sets
   up a sui generis presumption that a given rape victim is truthful and accurate, which can only be
   rebutted through the clearest proof of fabrication. In today’s feminist culture, keeping an open

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   mind about a rape allegation that is denied by the accused, is simply taboo. See Ex. 7, Rape Law
   Revisited, 13 OHIO ST. J. CRIM. L. at 285-89 and sources cited (discussing the history of reforms
   to counter rape myths in criminal law, such as rape shield laws and affirmative consent, which
   have been incorporated into many campus procedures, and concluding that “the justification of
   feminist rape reforms as necessary to counter the anti-rape-victim bent of criminal law actors in
   the 1980s and 1990s does not easily translate to the Title IX reform context, where fact-finders are
   more likely to lean the opposite direction.”)
          8.      Many of my articles examine the feminist argument, which has gained enormous
   traction in United States legal discourse and reform over the past decade, that adjudicative
   processes should be constructed to encourage women to report rape and sexual assault, under the
   theory that rape, especially campus rape, is a widespread “epidemic” that is widely underreported.
   See, e.g., Ex. 6, Anti-Rape Culture 64 U. KANSAS L. REV. at 1028-39. Advancing this argument,
   feminists successfully pursued reforms, such as rape shield laws and affirmative consent standards
   that lessen the “ordeal” of the sexual assault fact-finding process and make convictions more easily
   obtainable, in turn encouraging reporting. These reforms drew strong criticisms from defense
   attorneys and civil libertarians who argued that they encroached on the accuseds’ ability to
   adequately defend against charges. See Ex. 4, Rape Feminism and the War on Crime, 84 WASH.
   L. REV. at 613-14; Ex. 7, Rape Law Revisited, 13 OHIO ST. J. CRIM. L. at 285; Ex. 9, Consent
   Confusion, 38 CARDOZO L. REV. at 445-52.
          9.      Relatedly, my work explores the popular feminist notion of the need to presume
   that complainants suffer from trauma that can be re-triggered and how that notion affects law and
   policy. There are two consequences of this ideology to procedural fairness. First, feminists,
   antirape activists, prosecutors, and complainants’ advocates invoke the trauma frame to explain
   away complainants’ credibility issues, for example, significant delays in reporting, inconsistent
   statements, fragmented memory, illogical stories, and time frame problems, and even to prove rape
   occurred (through the assertion that trauma-consistent behavior is itself proof of rape). In the
   criminal context, evidence of the complainants’ trauma comes by way of expert testimony, subject
   to admissibility rules and adversarial testing. However, in public discourse and Title IX training,
   complainant trauma is simply presumed. Second, the ideology entails “trauma-informed”
   processes that seek to render the process more comfortable for presumptively fragile complainants,
   including validating complainants’ claims and feelings of victimhood, refraining from exacting

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   questioning and cross-examination, declaring certain lines of inquiry off limits, prohibiting direct
   interaction with accuseds, and providing emotional closure through findings of guilt. See Ex. 7,
   Rape Law Revisited, 13 OHIO ST. J. CRIM. L. at 282-87; Ex. 6, Antirape Culture, 64 U. KANSAS L.
   REV. at 1039-49; Ex. 4, Rape Feminism and the War on Crime, 84 WASH. L. REV. at 600-01.
          10.     As part of my work, I have also analyzed how substantive criminal law definitions,
   including force, consent, and affirmative consent standards, evolved in tandem with, and in
   response to, feminist efforts to expand the criminalization of a range of harmful sexual behaviors.
   See generally Ex. 3, Pink Elephants, 4 WM. & MARY J. WOMEN & L. 203 (1998); Ex. 4, Rape
   Feminism and the War on Crime, 84 WASH. L. REV. 581 (2009); Ex. 7, Rape Law Revisited, 13
   OHIO ST. J. CRIM. L. 279 (2016); Ex. 8, Not Affirmative Consent, 47 MCGEORGE L. REV. 683
   (2016). In doing so, I examined the move to expand notions of force to include more subtle forms
   of coercion, including emotional and moral coercion. See Ex. 9, Consent Confusion, 38 CARDOZO
   L. REV. at 421-23; Ex. 3, Pink Elephants, 4 WM. & MARY J. WOMEN & L. at 207-09; and Ex. 4,
   Rape Feminism, and the War on Crime, 84 WASH. L. REV. at 601-02. In my capacity as an advisor
   to the Model Penal Code sexual assault project, I have extensively researched and discussed where
   to draw the line between persuasion and coercion, between lawful pressure and prohibitable force.
   Moreover, Consent Confusion examines in detail the substantive definitions of sexual assault in
   campus codes and how they are and should be interpreted. Ex. 9, 38 CARDOZO L. REV. at 430-39.
          11.     My work also extensively discusses intent standards for sexual assault liability,
   including that affirmative consent standards make accuseds strictly liable for sex in the absence of
   a yes or its functional equivalent, the difference between knowledge and negligence standards for
   coerced or unconsensual sex; and how principles of legality require that accuseds be culpable, in
   that they knew or had reason to know the internal state of mind of the complainant. See generally
   Ex. 9, Consent Confusion, 38 CARDOZO L. REV. 415 (2016); Ex. 7, Rape Law Revisited, 13 OHIO
   ST. J. CRIM. L. 279 (2016). Feminist arguments about rape underreporting and underenforcement,
   as well as the need to tailor the trial to secure guilt and encourage reporting, has informed college
   and university disciplinary processes. The United States Department of Education, Office for Civil
   Rights, April 4, 2011 Dear Colleague Letter (the “Dear Colleague Letter”) concretizes many of
   those feminist principles, including deprioritizing due process protections for accused individuals,
   by inter alia eschewing any presumption of innocence, mandating a preponderance of the evidence
   standard, limiting cross-examination, and forbidding certain forms of alternative dispute

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   resolution. Ex. 10, Dear Colleague Letter, at pp. 8, 10-12; see also Ex. 11, DOE 2014 Questions
   and Answers on Title IX and Sexual Violence (“2014 Q & A”), at p. 31 (adopting rape shield
   principles and advising schools that hearings should be “conducted in a manner that does not inflict
   additional trauma on the complainant”).
           12.     My work further discusses how feminist reformist sentiments informed the Dear
   Colleague Letter, Title IX cases, and discourse on campus sexual assault. See generally Ex. 7,
   Rape Law Revisited, 13 OHIO ST. J. CRIM. L. at 285. The Dear Colleague Letter responded, in part,
   to a special investigative report published by National Public Radio and the Center for Public
   Integrity, which proclaimed a campus rape epidemic and criticized the Office for Civil Rights for
   its lax response to what the report characterized as a social problem of critical importance. See ht
   tp://www.npr.org/templates/story/story.php?storyId=124001493. The report described in detail
   the obstacles faced by sexual assault victims in obtaining redress though college disciplinary
   proceedings and how victims who did engage college disciplinary process suffered additional
   trauma as a result. Much of the report focused on underreporting, re-traumatization of victims,
   rape myth adherence on college campuses (e.g. that women invite rape, that rapes are just drunk
   hook-ups, and that women routinely lie), and young men’s cultural adherence to the sex aggressor
   role.
           13.     In response, Russlyn Ali, who was then the Assistant Secretary for Civil Rights,
   issued the Dear Colleague Letter, which sounded a “call to action for the nation” to address sexual
   assault, adopted the feminist program of reducing obstacles to finding guilt, including requiring
   colleges and universities to use the lowest civil standard of proof and eschewing a presumption of
   innocence for accuseds. Ex. 10, Dear Colleague Letter, at pp. 2, 10-11; see also Ex. 11, 2014 Q
   & A, at pp. 27, 31. My scholarship discusses the dangerous interplay of this low, and easily
   misapplied, standard of proof and feminist pro-victim presumptions. See Ex. 7, Rape Law
   Revisited, 13 OHIO ST. J. CRIM. L. 287-89. Moreover, the Dear Colleague Letter, adhering to the
   feminist idea of retriggered trauma and gendered power imbalance, forbids alternative dispute
   resolution, specifically voluntary mediation. Ex. 10, at p. 8. The Letter moreover “strongly
   discourages” schools from permitting respondents to question victims, under the presumption that
   “[a]llowing an alleged perpetrator to question an alleged victim may be traumatic or intimidating.”
   Id. at p. 12.



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            14.   In the post Dear Colleague Letter era, feminist activists have renewed concerns over
   a “rape culture,” which involves disbelieving complainants, victim blaming, overprotecting
   accused men, encouraging masculinist sexual aggression, and widespread underreporting and
   underenforcement. See Ex. 6, Anti-Rape Culture, 64 U. KANSAS L. REV. at 1028-39; Ex. 7, Rape
   Law Revisited, 13 OHIO ST. J. CRIM. L. at 280-87. Influenced by this narrative, universities
   prioritize tough enforcement and pro-complainant policies that presumably encourage reporting
   and maintain a better balance between accusation-to-guilt ratio over administrable sexual assault
   standards, fair evidentiary rules and presumptions, and ultimately accuracy. See Ex.7, Rape Law
   Revisited, 13 OHIO ST. J. CRIM. L.at 286-89; Ex. 9, Consent Confusion, 38 CARDOZO L. REV. 443-
   47.
            15.   The claims I make in the above cited articles are supported by a total of 1682
   footnotes comprised of hundreds of sources, including cases, statutes, books, law review articles,
   sociological studies, and popular media sources. The cases, statutes, law review articles, and books
   on feminism, rape law, rape reform, and campus sexual assault that cited in my articles are simply
   too numerous to list. The following is a sample of other types of sources (news articles, empirical
   studies, and university policies and documents) from just two of my recent articles (AntiRape
   Culture and Consent Confusion):
         a. The news articles cited in Antirape Culture, (Ex. 6), alone, include:

   Claire Gordon, When America Started Caring About Rape, AL JAZEERA AM. (Mar. 20, 2015);
   Lauren Kelley, America Has a Rape Problem—and Kate Harding Wants to Fix It, ROLLING STONE
   (Aug. 24, 2015); Ryan Broderick et al., What Is Rape Culture?, BUZZFEED NEWS (Feb. 5, 2014);
   Alana Prochuk, Rape Culture Is Real—And Yes, We’ve Had Enough, WOMEN AGAINST VIOLENCE
   AGAINST WOMEN (Apr. 18, 2013); Melissa McEwan, Rape Culture 101, SHAKESVILLE (Oct. 9,
   2009): Julia Kacmarek & Elizabeth Geffre, Rape Culture Is: Know It When You See It, HUFFPOST
   C. (June 1, 2013); Joseph Shapiro, Campus Rape Reports Are Up, and Assaults Aren’t the Only
   Reason, NPR NEWS (Apr. 30, 2014); Tyler Kingkade, College Sexual Assault Survivors Form
   Underground Network to Reform Campus Policies, HUFFINGTON POST (Mar. 21, 2013); Vanessa
   Grigoriadis, Campus Rape, Still a Nightmare, N.Y. MAG. (Dec. 22, 2014); Sally Williams, Campus
   Nightmare: Female Students on the Rise of Sexual Harassment, GUARDIAN (Oct. 11, 2014); Tara
   Culp-Ressler, New Study Finds ‘Epidemic Level’ of Rape on College Campus, THINKPROGRESS
   (May 20, 2015); Alex Morris, ‘The Hunting Ground’: Inside a Crucial Look at the Campus-Rape
   Crisis, ROLLING STONE (Mar. 3, 2015); Anya Jaremko-Greenwold, Kirby Dick and Amy Ziering
   on Exposing the Horrifying Campus Rape Epidemic in ‘The Hunting Ground’, INDIEWIRE (Feb.
   26, 2015); Emily Yoffe, The College Rape Overcorrection, SLATE (Dec. 7, 2014); Morgan Baskin,
   Controversial 1-in-5 Sexual Assault Statistic Validated in New National Survey, USA TODAY
   (Sept. 21, 2015); Theodore R. Del-Wiche & Mariel A. Klein, Survey Reveals ‘Troubling’ Sexual
   Assault Climate at Harvard, Faust Says, HARV. CRIMSON (Sept. 21, 2015); Lizzie Crocker, Why

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   the New ‘One in Four’ Campus Rape Statistic Is Misleading, DAILY BEAST (Sept. 21, 2015);
   Jennifer Baker, Campus Rape Skepticism: How Not to ‘Debunk’ Research, PSYCHOL. TODAY (Mar.
   6, 2015); Drew Faust, Statement on the Results of the Sexual Conduct Survey, HARV. U. (Sept. 21,
   2015); Ezra Klein, “Yes Means Yes” Is a Terrible Law, and I Completely Support It, VOX (Oct.
   13, 2014); Callie Beusman, ‘Yes Means Yes’ Laws Will Not Ruin Sex Forever, Despite Idiotic
   Fears, JEZEBEL.COM (Sept. 8, 2014); Jessica Roy, The Celebrity Nude Photo Leak Is Just Another
   Form of Online Harassment of Women, N.Y. MAG. (Sept. 1, 2014); Kirsten Gillibrand, Kirsten
   Gillibrand: ‘We Will Not Allow These Crimes to Be Swept Under the Rug Any Longer’, TIME (May
   15, 2014); Amanda Marcotte, Rape Victims Are Common. Rapists Are Not., SLATE (May 1, 2014);
   Dave Gustafson, Serial Rapists Commit 9 of 10 Campus Sexual Assaults, Research Finds, AL
   JAZEERA AM. (Oct. 28, 2013); Jennifer Peebles & Kristen Lombardi, ‘Undetected Rapists’ on
   Campus: A Troubling Plague of Repeat Offenders, CTR. PUB. INTEGRITY (Feb. 26, 2010 ); Lizzie
   Crocker, Is Sex Assault Coverage Really Sexist?, DAILY BEAST (Dec. 18, 2015); Associated Press,
   As Freshmen Enter ‘Red Zone,’ Colleges Re-Think Sexual Assault Policies, USA TODAY (Sept. 7,
   2014 ); Andrea Pino, The Second Rape: Battling PTSD and Betrayal, HUFFINGTON POST (Sept. 9,
   2013); Eliza Gray, Why Victims of Rape in College Don’t Report to the Police, TIME (June 23,
   2014); Jessica Bennett, Campus Sex . . . With a Syllabus, N.Y. TIMES (Jan. 9, 2016); Katie J.M.
   Baker, Rape Victims Don’t Trust the Fixers Colleges Hire To Help Them, BUZZFEED NEWS (Apr.
   25, 2014); Nick Anderson, New Safety Rules Announced for University of Virginia Fraternity
   Parties, WASH. POST (Jan. 6, 2015); Tanya Somanader, President Obama Launches the “It’s On
   Us” Campaign to End Sexual Assault on Campus, WHITE HOUSE (Sept. 19, 2014); Jenna Johnson,
   Schools Try New Strategies to Battle College Drinking, WASH. POST MAG. (Aug. 30, 2013); Akane
   Otani, Banning Drinking Won’t Stop Campus Rape, BLOOMBERG (Dec. 4, 2014); Donald Eastman,
   “An Open Letter to Students”: President Eastman Emails Eckerd Community About Sexual
   Assault and Harassment on Campus, CURRENT (Nov. 23, 2014); Cathy Young, A Real Dialogue
   for a Change: Which May Be a First on the Issue of Campus Rape Hysteria, WKLY. STANDARD
   (Jan. 25, 2016); Raina Lipsitz, Society Has an Ethical Obligation to Report Rape, AL JAZEERA
   AM. (Nov. 22, 2014); Jeannie Suk, The Trouble with Teaching Rape Law, NEW YORKER (Dec. 15,
   2014); Jenny Jarvie, Trigger Happy, NEW REPUBLIC (Mar. 3, 2014); Katie J.M. Baker, Teaching
   Rape Law in the Age of the Trigger Warning, BUZZFEED NEWS (Apr. 3, 2015); Tyler Kingkade,
   Despite Fears About Trigger Warnings, Survey Suggests Few Faculty Are Forced to Use Them,
   HUFFINGTON POST (June 23, 2015).

      b. The empirical studies cited in Anti-Rape Culture, (Ex. 6), alone include:

   Douglas W. Pryor & Marion R. Hughes, Fear of Rape Among College Women: A Social
   Psychological Analysis, 28 VIOLENCE & VICTIMS 443, 444 (2013); Jodi Lane et al., Fear of Violent
   Crime Among Men and Women on Campus: The Impact of Perceived Risk and Fear of Sexual
   Assault, 24 VIOLENCE & VICTIMS 172 (2009); Sofi Sinozich & Lynn Langton, Rape and Sexual
   Assault Victimization Among College-Age Females, 1995–2013, U.S. DEP’T JUST. BUREAU JUST.
   STAT. 3 (Dec. 2014); Michael Planty et al., Female Victims of Sexual Violence, 1994–2010, U.S.
   DEP’T JUST. BUREAU JUST. STAT. 1 (Mar. 2013); Susan Sprecher et al., Token Resistance to Sexual
   Intercourse and Consent to Unwanted Sexual Intercourse: College Students’ Dating Experiences
   in Three Countries, 31 J. SEX RES. 125, 130 (1994); DAVID CANTOR ET AL., REPORT ON THE AAU
   CAMPUS CLIMATE SURVEY ON SEXUAL ASSAULT AND SEXUAL MISCONDUCT (Sept. 21, 2015);
   CHRISTOPHER KREBS ET AL., THE CAMPUS SEXUAL ASSAULT (CSA) STUDY (Dec. 2007);

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   Washington Post-Kaiser Family Foundation Survey of College Students on Sexual Assault, WASH.
   POST; Terry P. Humphreys & Mélanie M. Brousseau, The Sexual Consent Scale—Revised:
   Development, Reliability, and Preliminary Validity, 47 J. SEX RES. 420, 421 (2010); Terry P.
   Humphreys, Understanding Sexual Consent: An Empirical Investigation of the Normative Script
   for Young Heterosexual Adults in MAKING SENSE OF SEXUAL CONSENT 209 (Mark Cowling & Paul
   Reynolds eds., 2004); David S. Hall, Consent for Sexual Behavior in a College Student Population,
   ELECTRONIC J. HUM. SEXUALITY (Aug. 10, 1998); Lucia F. O’Sullivan & E. Sandra Byers, College
   Students’ Incorporation of Initiator and Restrictor Roles in Sexual Dating Interactions, 29 J. SEX
   RES. 435 (1992); Annika M. Johnson & Stephanie M. Hoover, The Potential of Sexual Consent
   Interventions on College Campuses: A Literature Review on the Barriers to Establishing
   Affirmative Sexual Consent, 4 PURE INSIGHTS (2015); Susan E. Hickman & Charlene L.
   Muehlenhard, “By the Semi-Mystical Appearance of a Condom”: How Young Women and Men
   Communicate Sexual Consent in Heterosexual Situations, 36 J. SEX RES. 258 (1999); Charlene L.
   Muehlenhard & Lisa C. Hollabaugh, Do Women Sometimes Say No When They Mean Yes? The
   Prevalence and Correlates of Women’s Token Resistance to Sex, 54 J. PERSONALITY & SOC.
   PSYCHOL. 872 (1988); Michael W. Weiderman, The Gendered Nature of Sexual Scripts, 13 FAM.
   J.: COUNSELING & THERAPY FOR COUPLES & FAMS. 496, 498–500 (2005); O’Sullivan & Byers,
   supra note 62, at 435–36, 444–45; generally David Lisak & Paul M. Miller, Repeat Rape and
   Multiple Offending Among Undetected Rapists, 17 VIOLENCE & VICTIMS 73 (2002); Kevin M.
   Swartout et al., Trajectory Analysis of the Campus Serial Rapist Assumption, 169 JAMA
   PEDIATRICS 1148, 1149 (2015),; Katrina A. Vickerman & Gayla Margolin, Rape Treatment
   Outcome Research: Empirical Findings and State of the Literature, 29 CLINICAL PSYCHOL. REV.
   431, 431 (2009); Ron Acierno et al., Risk Factors for Rape, Physical Assault, and Posttraumatic
   Stress Disorder in Women: Examination of Differential Multivariate Relationships, 13 J. ANXIETY
   DISORDERS 541, 543 (1999); Barbara Olasov Rothbaum et al., A Prospective Examination of Post-
   Traumatic Stress Disorder in Rape Victims, 5 J. TRAUMATIC STRESS 455 (1992); NAT’L VICTIM
   CTR. & CRIME VICTIMS RES. & TREATMENT CTR., RAPE IN AMERICA: A REPORT TO THE NATION 7
   (Apr. 23, 1992); Patricia A. Resick, The Psychological Impact of Rape, 8 J. INTERPERSONAL
   VIOLENCE 223, 225 (1993); Sarah E. Ullman et al., Psychosocial Correlates of PTSD Symptom
   Severity in Sexual Assault Survivors, 20 J. TRAUMATIC STRESS 821, 822 (2007); Dean G. Kilpatrick
   et al., Victim and Crime Factors Associated with the Development of Crime-Related Post-
   Traumatic Stress Disorder, 20 BEHAVIORAL THERAPY 199 (1989); Ullman et al., supra note 80, at
   822 (citing Patricia A. Frazier et al., Perceived Control and Distress Following Sexual Assault: A
   Longitudinal Test of a New Model, 84 J. PERSONALITY & SOC. PSYCHOL. 1257 (2003); Mary P.
   Koss et al., Cognitive Mediation of Rape’s Mental, Physical, and Social Health Impact: Tests of
   Four Models in Cross-Sectional Data, 70 J. CONSULTING & CLINICAL PSYCHOL. 926 (2002); Sarah
   E. Ullman & Henrietta H. Filipas, Predictors of PTSD Symptom Severity and Social Reactions in
   Sexual Assault Victims, 14 J. TRAUMATIC STRESS 369 (2001); Christine A. Gidycz & Mary P. Koss,
   Predictors of Long-Term Sexual Assault Trauma Among a National Sample of Victimized College
   Women, 6 VIOLENCE & VICTIMS 175 (1991); Elizabeth A. Armstrong et al., “Good Girls”: Gender,
   Social Class, and Slut Discourse on Campus, 77 SOC. PSYCHOL. Q. 100 (2014); Anke Ehlers et al.,
   Intrusive Re-Experiencing in Post-Traumatic Stress Disorder: Phenomenology, Theory, and
   Therapy, 12 MEMORY 403, 404 (2004); Ann Hackmann et al., Characteristics and Content of
   Intrusive Memories in PTSD and Their Changes with Treatment, 17 J. TRAUMATIC STRESS 231,
   231 (2004); Alishia D. Williams & Michelle L. Moulds, An Investigation of the Cognitive and
   Experiential Features of Intrusive Memories in Depression, 15 MEMORY 912, 913 (2007); Lorna

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   Veraldi & Donna M. Veraldi, Is There a Research Basis for Requiring Trigger Warnings?,
   FORENSIC PSYCHOL. 1, 5–7 (Mar. 26, 2015).

      c. The university codes, policy documents, and training materials cited in Anti-Rape Culture,
         (Ex. 6), and Consent Confusion, (Ex. 9), include:

   Stalking and Relationship Violence, U. MINN. (Aug. 2015), https://policy.umn.edu/operations/
   sexualassault; Sexual Misconduct, EMORY U. (Sept. 26, 2016), https://policies.emory.edu/8.2;
   Sexual and Gender-Based Harassment, Sexual Violence, Relationship and Interpersonal Violence
   and Stalking Policy, BROWN U. 7 (Sept. 2, 2016), https://www.brown.edu/about/administration/
   title-ix/sites/brown.edu.about.administration.title-ix/files/uploads/policy-final-sept-16.pdf;
   Prohibited Student Conduct: Sexual Assault, CORNELL U., http://titleix.cornell.edu/prohibited-
   conduct/sexual-assault (last visited Oct. 31, 2016); Sexual Misconduct, U. COLO. (July 1, 2015),
   http://www.cu.edu/sites/default/files/5014.pdf; Sexual Respect: Definitions, DARTMOUTH C.,
   http://www.dartmouth.edu/sexualrespect/definitions.html#consent (last updated Feb. 3, 2015);
   Yale Sexual Misconduct Policies and Related Definitions, YALE U., http://smr.yale.edu/sexual-mis
   conduct-policies-and-definitions; Policy on Sexual and Gender-Based Harassment and Other
   Forms of Interpersonal Violence, U. VA. 13 (July 1, 2015), https://vpsa.virginia.edu/
   sites/vpsa.virginia.edu/files/Title%20IX%20VAWA%20Umbrella%20Policy.pdf;                   Prohibited
   Sexual Conduct: Sexual Misconduct, Sexual Assault, Stalking, Relationship Violence, Violation of
   University or Court Directives, Student-on-Student Sexual Harassment and Retaliation, STAN. U.
   (Mar. 11, 2016), https://adminguide.stanford.edu/printpdf/chapter-1/subchapter-7/policy-1-7-3
   [hereinafter Stanford Policy] (“It is the responsibility of person(s) involved in sexual activity to
   ensure that he/she/they have the affirmative consent of the other . . . .”); Student Sexual
   Misconduct Policy and Procedures: Duke’s Commitment to Title IX, DUKE U., https://
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   II.     Summary of Expert Report and Opinions

           16.   In my report, I provide my expert opinion on (1) the history of feminist theory and
    reform in sexual assault laws and, specifically, the narratives that reformers developed about
    victim credibility, trauma, underreporting, and under-conviction – narratives that have become
    particularly influential in the post-Dear Colleague Letter era; (2) the influence of these narratives
    and their “pro-victim” bias in the policies and procedures utilized by Defendant Denver
    University (“D.U.”) in investigating and adjudicating the sexual misconduct allegations against
    John Doe. Ex. 2, Expert Rpt. The latter opinion discusses how D.U.’s training incorporated
    gendered antirape narratives and identifies procedural flaws in the investigation that support an
    inference of bias. Id.
           A. The History and Impact of Feminist “Pro-Victim” Ideas and Reforms

           17.   The first part of my report discusses the “politicized and gendered backdrop of the
   sexual assault issue.” Ex. 2, Expert Rpt., at 2. I first address the influence of late twentieth century
   U.S. feminism on the development of sexual assault law and the consequent legal strategies to
   counter rape culture and underreporting, including adopting a presumption that women do not lie

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   about rape⸻a presumption that has more recently had a serious impact on campus sexual
   misconduct adjudications:
          [In the 1980s] police, prosecutors, and jurors (especially male ones) expected rape
          complainants to be chaste and tended to presume that women generally fabricated
          sexual assault claims. Moreover, victims remained reluctant to come forward because
          of embarrassment, inconvenience, and fear of the process. It was upon this backdrop
          that feminists and activists began to try to change norms and not just law. To combat
          low reporting rates, feminist attempted to instill in police actors and the public at large
          a sense that women, in fact, do not lie about rape. A contested but widely publicized
          statistic from women activists was that only two percent of rape accusations are false.
          As a result, from a feminist perspective, any argument that a woman might be
          fabricating a claim of rape is presumptively taboo. . . . Ex. 2, Expert Rpt. at p. 4.

          18.    I next address how these feminist narratives and strategies have influenced
   administrators, especially in the post-Dear Colleague Letter era:

                [G]iven the history of the gender politicization of rape law and especially sexual
                assault on college campuses, administrative investigators, who see their job, in part,
                as stopping the scourge of sexual assault on campus, may be inclined to presume
                that a female complainant is always truthful, despite evidence of inconsistency. In
                addition, when they are not sure, such investigators may be inclined to err on the
                side of finding that sexual assault occurred. Id.

   I further opine that Title IX administrators “know that federal funding depends on being Title IX
   compliant, which often translates into ‘zero tolerance’ for sexual assault.” Id. at p. 23.
          B. The Influence of Feminist “Pro-Victim” Ideas and Reforms on
             D.U. Administrators and Policies                        ___

          19.    My report identifies several feminist cultural narratives particularly relevant to this
   case: (1) the idea that it is improper to doubt sexual assault complainants and there should be a
   very strong presumption of complainants’ credibility; (2) the notion that subjecting complainants
   to rigorous truth-testing is improper because it triggers trauma and deters reporting; and (3) the
   idea that universities that exonerate respondents or treat them too leniently participate in “rape
   culture” and fail to take the “epidemic” of campus rape seriously.            These narratives were
   incorporated into the training of OEO administrators at D.U.:
          According to Butler, the required training for his position at the University was a basic
          seminar from the for-profit Title IX training company ATIXA on the mechanics of
          Title IX investigations, a course that Butler characterized as “victim centered,” that is,
          focused on victims rather than respondents. (Butler D. 90, 92). Other courses offered
          or endorsed by the University and attended by various OEO staffers appear to be about

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          predisposing staff to a particular set of views on sexual assault and the inherent
          credibility of complainants and respondents. For example, trainings involve informing
          attendees that campus rapes are frequent, that only a minute percentage of rape claims
          are false, that campus rapes are “woefully underreported” (Butler D. 101), that accuseds
          are likely repeat offenders, and that inconsistent or incomplete complainant testimony
          is due to trauma and is therefore evidence that the complainant is telling the truth.
          (Grove D. 194-96; Olson D. 169-181; Butler D. 126-28, 157-58). Ex. 2, Expert Rpt. at
          pp. 4-5.

          20.     My report notes that as part of a widespread reorganization of their Title IX rules
   and procedures after the Dear Colleague Letter, D.U. truncated and expedited its process to
   eliminate a hearing and make the internal OEO investigators the sole arbiters of the case (“the dual
   investigator mode1”):
          [T]he University instituted this stripped-down process sometime after 2012 as part of
          its larger efforts to reform the handling of sexual misconduct cases. Prior to that time,
          the University engaged dedicated investigators―sometimes one but often two―to
          collect documents, interview witnesses, and compile evidence, as it does under the
          current policy. However, under the former policy, investigators were not empowered
          to assess unilaterally the fruits of their own investigation. Rather, cases proceeded to
          a student conduct hearing board that analyzed the investigative reports and determined
          the existence a disciplinary violation. Id. at p. 3 (citing Grove).

          C. Evidence of the Influence of Feminist “Pro-Victim” Ideas on
             D.U.’s Handling of John Doe’s Case

          21.   The second part, and bulk of, my report identifies flaws in the D.U. investigators’
   approach to John Doe’s case that support an inference that the investigators, internalizing feminist
   ideas, harbored gendered presumptions about sexual assault complainants and respondents. In
   identifying the flaws, I rely on basic rule-of-law principles of fairness and impartiality, for
   example: that investigations must be thorough; that investigations cannot be patently one-sided;
   that student conduct codes cannot be vague but must provide notice of what is prohibited; that
   sexual assault liability cannot be premised on a complainant’s undisclosed intentions; that a finding
   of responsibility must be supported by credible evidence; and that standards of proof must be
   applied accurately. I explain in the report that complying with baseline principles of legality is
   particularly important in a case involving a “dual investigator” model because:
          the investigators play the role of police, attorneys, judge, and jury. Investigators handle
          document collection, interview witnesses, and interrogate accuseds. Those
          investigators then decide which information to put into the report, which theories to
          pursue, and which arguments to address or ignore. They also interpret the substantive

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           law of sexual assault as set forth in the OEO Procedures and the meaning of standards
           of proof. Finally, the same investigators act as fact-finders, analyzing witness
           credibility and evidence to determine whether it is more likely than not that there was
           a disciplinary violation. Ex. 2, Expert Rpt. at pp. 2-3.

           22.   In addition to identifying specific techniques used by the investigators that indicate
   bias, discussed below, my report notes that the trajectory of the entire investigation indicates of
   bias. My report notes, “Nearly all the investigative deficiencies, sloppy reasoning, and inconsistent
   application of credibility determinants benefit Complainant. Reading the D.U. Investigative
   Report, it is as if the investigators were under a directive to collect, manage, and analyze the
   evidence in the ‘light most favorable to the complainant.’" Id. at p. 6. This is particularly troubling,
   given that under D.U.’s model, “cases are determined without the benefit of attorneys to marshal
   evidence and law, a hearing to test the veracity of witnesses, or even any reviewing body to provide
   some minimal oversight.” Id. at p. 23.
           23.     My report identifies several problems with the investigative methods that suggest
   the investigators internalized some of the above-described biases, for example, approaching the
   case more like complainant advocates than neutral factfinders responsible for discovering
   inculpatory and exculpatory material and scrupulously avoiding rigorous testing of only the
   complainant’s claims:
                a. The investigators declined to clarify complainant’s vague and conclusory
   statements about John Doe’s requests for sex, despite that these requests were what purportedly
   coerced complainant into agreeing to the sex. Id. at p. 6-7.

                 b. There is evidence that investigators prompted witnesses to make accusatory
   statements against John Doe. For example, witness J.M. initially states that when they arrived on
   the scene John Doe and his roommate were studying and it was not a party atmosphere, in direct
   contradiction to the complainant’s characterization that John Doe was drinking gin and offering it
   to her. Later in his statement, J.M. remarks, “We may have been doing a little bit of drinking, but
   I don’t remember for sure,” suggesting that the investigators asked his particularly about drinking.
   Similarly, an issue in the case was whether the complainant chose to stay in John Doe’s room in
   order to hook-up (per John Doe’s account) or whether her friend group decided she should stay
   there because she was drunk (per complainant’s account). Of this, J.M. initially stated that he “just
   left” and didn’t “remember saying much to [the complainant] before leaving”, except “goodbye.”
   Later, his statement reads, “I don’t remember who made the decision for her to stay in the room.
   It may have been a collective decision to leave her there because we were afraid she would get in
   trouble while trying to get back in the room,” suggesting that the investigators invited J.M. to
   support the complainant’s account by speculating. Id. at p. 8.




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                c. The investigators discredited John Doe for deleting a reference to the drug
   Adderall in his official statement, despite that the fact whether Plaintiff offered, and the
   complainant accepted, the drug after the alleged assault is either irrelevant to whether assault
   occurred or possibly exculpatory (under the reasoning that such a friendly exchange cuts against a
   rape claim). The investigators also discounted Doe’s credibility on the strange ground that offering
   the complainant Adderall was somehow inconsistent with his claim that he brought her coffee at
   breakfast. Finally, the investigators did not similarly fault the complainant for failing to mention
   accepting Adderall in her statement. Id. at pp. 8-10.

          24.   My report identifies several instances where the investigators assessed credibility
   unfairly by ignoring credibility issues with the complainant, unequally applying credibility
   determinants in favor of the complainant and against John Doe, unfairly assessing the influence of
   intoxication, and assessing the credibility of claims based on a gendered notion of what is
   “natural”:
                a. The investigators failed to take into account inconsistencies between the
   complainant’s first vague and conclusory statement and her second more detailed statement, taken
   in response to further investigation. I explain in the report:

          The first statement creates the image that Plaintiff woke Complainant up, immediately
          demanded that she have sex or get out, and repeated that threat “over and over” while
          Complainant protested. The second statement indicates that there was a “casual
          conversation,” a discussion of awkwardness and friends with benefits, a consideration
          of sexual positions, breaks in the sexual interaction, and music. Indeed, Complainant’s
          second statement reveals a negotiation, involving reasons why Complainant should
          have sex (he’s been nice, she has other friends with benefits) and why she should not
          (she doesn’t like friends with benefits, it’s awkward). Id. at p. 11.

   Instead, the investigators ignored the complainant’s second statement altogether, indicating that
   they were reluctant to recognize evidence of the complainant’s incredibility and adverse to
   evidence that contradicted her conclusion that what happened was coerced sexual assault.

                b. The investigators struggled to credit the complainant’s account of why, if she felt
   coerced, she did not turn to John Doe’s roommate who was a few feet away. Despite the fact that
   complainant said that the roommate was there throughout the night and that she didn’t remember
   him leaving, they simply accept her contradictory statement that she “didn’t know he was in the
   room,” without requiring any explanation as to why he would have suddenly left. Id. at 11-12.

                 c. The investigators discounted John Doe and his roommate’s claim that the
   complainant did not appear overly intoxicated on the ground that they had a self-protective motive
   to lie to cover up a violation of dorm alcohol rules; however, as the report notes, “[a]dmitting that
   a visitor came to the room already drunk is not an admission of drinking or having alcohol in the
   dorm.” At the same time, the investigators totally ignored the possibility that the complainant lied
   to avoid liability for an alcohol violation when she reported the assault, months later, to Graduate
   Director Mariano, describing it as occurring while she was drunk at an off-campus party. Despite

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   that Mariano was clear that complainant “definitely said that it was a house party off campus,” the
   investigators stretch to find Mariano not credible, dismissing his testimony as a speculative
   assumption. This again demonstrates the lengths to which the investigators went to find the
   complainant credible and ignore exculpatory evidence. Id. at pp. 13-14.

                 d. The investigators dismiss John Doe and his roommate’s testimony regarding the
   incident as a product of collusion because they tried to help each other recall the events of a night
   several months in the past that they both actually observed. At the same time, the investigators
   credit witness J.M.’s statements supporting the complainant’s account as untainted by bias,
   ignoring the fact that J.M. stated that the complainant called him the night before his interview to
   tell him he would be interviewed, and that “[s]he told me her portrayal of the night” and “[t]he
   way I heard it from [Complainant] it was rape.” Id. at p. 14.

                e. The investigators alternatively and contradictorily characterized the complainant
   as intoxicated and sufficiently sober when in service of inculpating the respondent. As the report
   explains, “when it came to determining that Complainant was coerced, the investigators credit
   Complainant’s and J.M.’s claim that she was highly intoxicated and reject Plaintiff and M.F.’s
   claim that she was not. When it comes to measuring the reliability of Complainant’s observations,
   the investigators simply switch their factual findings and credit Plaintiff and M.F.’s observation
   that Complainant was not intoxicated.” Id. at p. 15.

                 f. The investigators concluded that the complainant had no motive to fabricate,
   despite that “the charge arose only after Complainant talked about the incident to her new
   boyfriend, R.H., who decided that it was rape” and that R.H. was the actual person who first
   reported the incident to Mariano. Id. The complainant’s claims tested the line between insistence
   and coercion, where every detail matters, and the investigators did not consider that “the event, as
   relayed to her new boyfriend six months afterwards, differed in meaningful ways from what
   actually happened.” Id. Instead, they reasoned that because complainant and John Doe were on
   good terms, she had no “malicious motive” to “willingly present a false version of the events.” As
   I note in my report, this adopts the view that complainants are invariably credible and accurate
   unless they fit into a narrow -- and virtually nonexistent -- category of vindictive liars. Id. at p.
   16. Investigator Butler was so convinced of the accuracy of complainant’s account, relayed to her
   boyfriend months after the fact, that he declined to follow up with a witness the complainant said
   she spoke to days after the incident. He reasoned that it is irrelevant “how her friend or even the
   complainant herself characterize[d]” the incident shortly after it occurred. Id.

                 g. The investigators credited the complainant’s initial account of the incident, in
   which John Doe was the sole initiator of sexual activity and the complainant was a reluctant and
   passive acceptor, over John Doe’s account, in which the complainant initiated much of the intimate
   contact and told him about prior partners, on the ground that the complainant’s account was “more
   natural.” Id. at pp. 16-18. The investigators found “suspect” that the complainant engaged in
   “friendly banter” about sex and that John Doe was “shocked” at the complainant’s sexual
   openness. Id. at p. 17. They further faulted John Doe for claiming that Jane Doe had talked about
   past casual sex partners as a sexist attempt to impugn her character, despite that Jane Doe admitted
   to discussing having past “friends with benefits.” The investigator thus bought into the popular
   gendered and feminist notion that men are sexual aggressors solely responsible for ensuring that

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   sex is a product of free will. During deposition, investigator Butler continued to doubt that John
   Doe was sexually inexperienced. He expressed his disbelief “that a guy with no sexual history and
   didn’t expect this interaction had a condom on hand.” Id. at pp. 16-17.

           25.   My report highlights the investigators’ decision to broadly and arbitrarily interpret
   the coercion clause of D.U.’s sexual misconduct policy to encompass the complainant’s claims
   against John Doe, supporting the inference that the investigators felt pressure to find guilt and that
   they were influenced by the reformist notion, discussed above, that “coercion” should be
   broadened to encompass many, if not most, forms of pressure that men place on women. Id. at pp.
   18-22. The investigator based the finding of coercion on: (1) repeated requests for sex in the face
   of refusal, and (2) John Doe’s statement that the complainant owed him sex for using his bed, both
   of which were rendered more coercive by the complainant’s intoxication. Id. at pp. 18-19.
   However, the policy actually prohibits “unreasonable and persistent pressure to compel another
   individual to initiate or continue sexual activity against an individual’s will.” Id. at p. 19. It further
   specifies, “Coercive behavior differs from seductive behavior based on the type of pressure
   someone uses to get consent from another. . . . Coercion can include a wide range of behaviors
   including intimidation, manipulation, threats, and blackmail. Examples of coercion include
   threatening to disclose another individuals’ private sexual information related to sexual
   orientation, gender identity, or gender expression and threatening to harm oneself if the other party
   does not engage in the sexual activity.” Id. My report reasons:
           The list of behaviors and examples, therefore, are meant to narrow the world of
           “unreasonable” pressure by delineating acts that are at a particular level of gravity.
           Although these lists are non-exclusive, if the interpreter chooses to ignore them and
           define coercion as anything he thinks is unreasonable pressure, including things a
           magnitude different from threatened suicide and blackmail, the interpreter has rendered
           an entire of portion of the statute superfluous. . . . Thus, the most logical reading of the
           policy is that repeated requests for sex in the face of “clear” refusal are coercion only
           when the requests amount to intimidation, manipulation, or threats that affect the
           refusing party’s free will to the degree a suicide threat or public sexual orientation
           outing would. The Report gives no hint as to why Plaintiff’s repeated requests, even as
           described in Complainant’s first statement, rose to that level of pressure. Id. at pp. 19-
           20.

           26.     My report further notes that the investigators failed to account for evidence
   indicating that John Doe did not know, or have reason to know, the complainant felt coerced. This
   supports that the investigators internalized a belief, held by certain feminist rape reformers, that a
   complainant’s undisclosed internal feeling is the sole measure of whether sex is coerced or

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   consensual. For example, investigator Grove explained that in order for the sex between Plaintiff
   and the complainant to have been uncoerced and consensual, the sex would have to be “something
   that she actually wanted.” Id. at p. 21. The investigators failed to explore what language the
   complainant used to express that she was just “giving in” to being coerced as opposed to having
   been persuaded. Moreover, the investigators failed to consider whether the complainant, even if
   intoxicated earlier in the evening, reasonably appeared sober to Plaintiff when he discussed and
   then had sex with her. Id.
             27.     Finally, my report discusses the investigators’ incorrect application of the
   preponderance of the evidence standard in a manner that made findings of guilt more likely, again
   indicating that investigators were responding to pressure to take campus rape seriously. Id. at pp.
   22-23. The investigators concluded, “These circumstances, along with the issues presented above
   regarding [Plaintiff’s] overall credibility, lead the Investigators to find [Complainant’s] version of
   the events to be more likely than the version presented by [Plaintiff].” Id. at p. 22. The report
   reasons:
          [B]y defining preponderance as a closed contest between two stories (one necessarily true
          and the other necessarily false), the investigators made the logical leap of saying that the
          better story was the true story. This faulty logic allowed the investigators to avoid the legal
          obligation to look at all the possible scenarios and evidence thereof, fully analyze them for
          the believable and unbelievable parts, and determine exactly what more likely than not
          happened, and whether that constituted coercive sexual contact. . . . This mistaken
          interpretation and application of the preponderance of the evidence standard is critical in
          this particular case because even assuming that everything Complainant said was true and
          everything Plaintiff said was false, the case for coercion is, at best, marginal. Id. at p. 22.

   III.      Experience and Qualifications

             A. Education and Experience Prior to Teaching

             28.     In 1992, I graduated, summa cum laude, from the University of California at
   Berkeley, receiving a B.A. in Philosophy, with Departmental Honors and Phi Beta Kappa.
             29.     I next attended Harvard Law School where I served as an Articles Editor for the
   Harvard Women’s Law Journal and as General Editor of the International Law Journal. My course
   work at Harvard Law included the study of criminal law and procedure under Alan Dershowitz,
   for whom I served as a research assistant during the O.J. Simpson trial. I graduated, magna cum
   laude, in 1997. I was a member of the criminal trial team, coached by Professor Charles Ogletree



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   as well as student lawyer in the Criminal Justice Institute. I wrote Pink Elephants in the Rape Trial
   during my third year of law school and published it shortly after graduation.
             30.    After law school I clerked for Federal District James L. King in the Southern
   District of Florida and assisted writing orders for his civil docket, including in discrimination
   cases.
             31.   I then served as a felony trial attorney with the public defender service in Washington,
   D.C. and the federal public defender office in Miami, FL, handling a wide variety of criminal
   cases. In this position, I investigated sexual contact and sexual solicitation cases. As a result, I
   often spoke with victims of sexual assault.
             B. Academic Positions and Teaching

             32.   I have been a full-time law professor since 2002. I began my teaching career at
   Florida International University, where I was promoted to associate professor in 2005, receiving
   tenure in 2008, both of which were pursuant to the University’s required peer-review process. I
   then moved to University of Iowa with a promotion to full professor with tenure in 2009, granted
   through Iowa’s peer-review tenure process. I became a law professor at the University of Colorado
   in 2010 at the rank of tenured full professor, after vetting through a peer-review evaluation process.
             33.   Except for leave semesters, I have taught criminal law courses every year since 2002,
   which address, among other things, rape, force and consent standards, intoxication, rape shield
   laws, victim credibility, and rape trial procedure. For the past four years, my courses have included
   a discussion of Title IX. I also teach seminars on criminal law, which include segments on rape,
   rape reform, sex offender treatment, Title IX, and campus rape. I have also taught investigative
   criminal procedure since the beginning of my teaching career and adjudicative criminal procedure
   several times. Both courses engage deeply with issues of fair investigative and adjudicative
   procedure, including investigative bias, investigative technique, interrogation, discovery rules,
   speedy trial issues, fact-finding, presumptions, joinder and severance, burdens of proof, and
   appeal.
             34.   I was a visiting professor at Harvard Law School during the Fall 2017 semester,
   where I taught two courses: (i) Criminal Law and (ii) Feminism and Crime Control. I have attached
   copies of my biography and the course descriptions to this declaration as Exhibit 12. As set forth
   in the course description, Feminism and Crime Control addresses the tension between feminist
   theory and criminal law reform, and includes a discussion of Title IX, including the theoretical and

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   legal issues impacting the debate on campus sexual assault. Approximately one quarter of
   Feminism and Crime Control’s curriculum was related to campus sexual assault.
             35.   Throughout the years, I have advised several student papers on rape issues, including
   papers on Title IX policy and procedure and sexual assault law reform. My former students have
   gone on to be sex crimes prosecutors, Title IX personnel, university administrators, and public
   defenders, among other things.        I regularly comment on other law professors’ scholarship
   regarding rape and Title IX issues, including engaging in peer review for journal publication and
   tenure.
             C. The Boulder Faculty Assembly and American Law Institute

             36.    For the past six years, I have been a member of the Boulder Faculty Assembly,
   which is the representative body of the faculty of the CU-Boulder campus. In January 2014, I was
   appointed to a seven-member ad hoc committee tasked with investigating whether the University,
   including its Office of Discrimination and Harassment (“ODH”), followed relevant policies and
   procedures in sanctioning Patti Adler, a sociology professor accused of sexual harassment and
   creating a hostile environment, related to her teaching methods in her course on the sociology of
   deviance, specifically a “prostitution skit.”
             37.    As a result of the accusations and ODH investigation, Adler was removed from
   teaching the course and encouraged to retire early. Adler’s case garnered national attention in the
   media as thousands of students protested her removal. The ad hoc committee conducted an
   investigation, which included a review of the relevant ODH policies and procedures, and
   determined that administrators violated Adler’s rights under University rules by, among other
   things, having ODH investigators secretly observe her class and failing to follow prescribed
   procedures. The ad hoc committee also recommended that the ODH revise its policies and
   procedures to provide more effective notice to individuals who are the subject of a “preliminary
   inquiry,” and create clearer rules governing the operation of those inquiries. I have attached a copy
   of the ad hoc committee’s report to this declaration as Exhibit 13.
             38.    I was also a member of the Boulder Faculty Assembly’s Faculty Affairs Committee
   and, in that capacity, I investigated the case of David Barnett, a tenured philosophy professor who,
   in 2013, was fired for sending the University’s Chancellor and Provost a letter, and report, he had
   prepared which objected to the manner in which the ODH investigated, and adjudicated, a sexual
   assault case against a former graduate student. The University characterized Barnett’s letter as

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   retaliation against a rape complainant, a characterization rejected by the University Privileges and
   Tenure Committee, the faculty committee that presides over dismissal-for-cause grievances. In
   2014, I testified as an expert at the Privileges and Tenure Committee’s hearing on Barnett’s case
   on the issue of rape shield laws and specifically how they operate under federal law, Colorado law,
   and within the Title IX framework.
          39.     In my capacity as a member of the Boulder Faculty Assembly, I have met several
   times with personnel from CU Boulder’s Title IX office to discuss disciplinary procedures in
   sexual misconduct cases. I have also met with CU Boulder Chancellor Phil DiStefano and CU
   Boulder Provost Russell Moore to discuss university disciplinary policies and procedures under
   Title IX.
          40.     I have been an adviser to the American Law Institute’s Model Penal Code sexual
   assault project for six years, where I have been involved in drafting discussions on force, consent,
   intoxication, rape shield, and other provisions related to the law of sexual assault. I engaged in a
   debate with the project reporter over affirmative consent, which resulted in the article Not
   Affirmative Consent.
          41.      I have been a part of the members consultative group to the American Law
   Institute’s Project on Sexual and Gender-Based Misconduct on Campus, and in that capacity, have
   had various conversations with the reporter about campus policies and procedures, including
   investigative fairness, administrative bias, alternative dispute resolution, and collateral
   consequences of discipline.
          D. Research and Writing

          42.   Since law school, a primary focus of my research and writing has been the
   relationship between feminist theory and criminal law reform addressing violence against women,
   including rape, sexual assault, domestic violence, intimate partner homicide, and sex trafficking.
          43.   I have written the following articles relevant to Title IX enforcement and the impact
   of historical and current feminist discourse on college disciplinary policies and processes:
         Consent Confusion, 38 CARDOZO L. REV. 415 (2016) (Ex. 9).

         Anti-Rape Culture, 64 U. KANSAS L. REV. 1027 (2016) (invited) (Ex. 6).

         Rape Law Revisited, 13 OHIO ST. J. CRIM. L. 279 (2016) (symposium editor’s
          introduction) (peer reviewed and invited) (Ex. 7).


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         Not Affirmative Consent, 47 MCGEORGE L. REV. 683 (2016) (invited response to
          Stephen Schulhofer, Consent: What It Means to Get It and Why It’s Time to Require It)
          (Ex. 8).

         When Theory Met Practice: Distributional Analysis of Race and Gender in Criminal Law,
          83 FORDHAM. L. REV. 3211 (2015) (invited) (Ex. 14).

         Neofeminism, 50 HOUSTON L. REV. 1325 (2013) (Ex. 5).

         A “Neo-feminist” Assessment of Rape and Domestic Violence Law Reform, 15 J. RACE,
          GENDER & JUST. 583 (2012) (EX. 15).

         Rape, Feminism, and the War on Crime, 84 WASH. L. REV. 581 (2009) (Ex. 4).

         The Feminist War on Crime, 92 IOWA L. REV. 741 (2007) (Ex. 16).

         Pink Elephants in the Rape Trial: The Problem of Tort-type Defenses in the Criminal Law
          of Rape, 4 WM. & MARY J. WOMEN & L. 203 (1998) (EX. 3).

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         Neofeminism, in THE SAGE ENCYCLOPEDIA OF PSYCHOLOGY AND GENDER (2017).

         Anti-Rape Culture (reviewing Janet Halley, Trading the Gavel for the Megaphone (2014)),
          JOURNAL OF THINGS WE LIKE LOTS [JOTWELL] (Sept. 2015) (Ex. 17).

   The first four articles, in bold, directly discuss current college codes and Title IX procedures.

          44.   My work has been quoted in leading criminal law and other casebooks, including:

         Kadish, Schuhofer, Steiker, and Barkow, Criminal Law and Its Processes (10 th ed. 2017).

         Kaplan, Weisburg, and Binder, Criminal Law: Cases and Materials (8 th ed. 2016).

         Dressler & Garvey, Criminal Law: Cases and Materials (7th ed. 2015).

         The Oxford Handbook in Criminal Law (Dubber & Horne, eds. 2014).

         Bartlett, Rhode, and Grossman, Gender and Law: Theory, Doctrine, Commentary (7th ed.
          2017).

         The Oxford Handbook of Gender and Conflict (Fionnuala Ní Aoláin et al, eds. 2018)

         Harris, Carbone, and Tietelbaum, Family Law (5th ed. 2014)

         Martha Chamallas, Introduction to Feminist Legal Theory (3d ed. 2013).
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          45.       The American Law Institute’s Project on Sexual and Gender-Based Misconduct on
   Campus cited my article, The Feminist War on Crime, 92 IOWA L. REV. 741, 796-797 (2007), in
   their recent report. I have attached a true and correct copy of the excerpted pages to this declaration
   as Exhibit 18. I have also been cited in the ALI’s draft Model Penal Code: Sexual Assault and
   Related Offenses. I have attached a true and correct copy of the excerpted pages to this declaration
   as Exhibit 19.
          46.       I co-authored and published a textbook on comparative criminal procedure, Practical
   Global Criminal Procedure, which examines and analyzes criminal procedure, including
   investigation and interrogation techniques utilized by police, through a case study involving
   violations of procedure in the investigation of a homicide case. The book also discusses criminal
   trial processes in three countries, including an extensive comparison of inquisitorial and
   adversarial models of procedure. Ex. 1, Curriculum Vitae.
          47.       I was the organizer and editor of a symposium entitled, Rape Law Revisited, for the
   peer-reviewed journal, the Ohio State Journal of Criminal Law in 2016. Articles in the symposium
   extensively discuss Title IX, for example an article entitled The Criminalization of Title IX.
          E. Speaking Engagements

          48.       I am frequently invited to give lectures and presentations about Title IX and related

   issues. See Ex. 1, Curriculum Vitae. The following are recent lectures concerning sexual

   misconduct on college campuses:

                    On January 31, 2018, I presented a talk to the University of Kansas law faculty on
                     the history of feminist rape reform from the 1880s to the 1990s, relating the various
                     laws, issues, cultures, legal reforms, and feminist ideas to some of the sexual assault
                     issues of the day, including Title IX reforms and the #metoo movement.

                    On November 8, 2017, I presented a talk to Boston University law students in a
                     gender race and law seminar on the history of feminist rape reform and its relation
                     to current concepts of sexual harm, sexual consent, and gender justice within the
                     campus rape and #metoo discussion.

                    On November 8, 2017, I presented a talk to Harvard law students in Professor Paul
                     Butler’s Black Lives Matter and the Law course on the history of feminist rape
                     reform, how feminist ideologies have influenced discourse on campus rape and
                     sexual harassment in recent years and months, and the impact such discourse on
                     racial justice concerns.


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                    On October 16, 2017, I spoke to students at an event organized by Harvard Law
                     School’s American Constitution Society and Women’s Law Association about
                     consent and affirmative consent standards in criminal laws and university policies,
                     as well as current Title IX controversies.

                    On September 21, 2017, I participated in the University of Kentucky Center for
                     Research on Violence Against Women’s 2017 National Conference, Campus
                     Responses to Sexual Misconduct: Pausing to Consider the Implications. At the
                     conference, I gave a lecture on affirmative consent.

                    In April 2016, I participated in the Stanford Journal of Criminal Law Symposium,
                     Radical Ideas Forum: Sexual Assault on College Campuses, discussing Title IX
                     issues, including trauma, due process, climate surveys, and college code definitions
                     of rape.

                    In April 2016, I was invited to, and presented, a “Think! Talk” for the Center for
                     Values and Social Policy at CU Boulder to a large audience of undergraduates,
                     graduate students, and community members, discussing Title IX issues, including
                     trauma, due process, climate surveys, and college code definitions of rape.

                    In February 2016, I was invited to present to the Ohio State University Law School
                     faculty, where I spoke on Title IX issues, including trauma, due process, climate
                     surveys, and college code definitions of rape.

                    In January 2016, I was part of the American Association of Law Schools’ Hot Topic
                     Panel, Grappling with Campus Rape, at which I discussed Title IX issues, including
                     trauma, due process, climate surveys, and college code definitions of rape. That
                     panel and my comments were covered by the national press.

                    In November 2015, I debated Professor Stephen Schulhofer, reporter for the MPC
                     Sexual Assault Project, on the topic of affirmative consent at the U. Pacific Law
                     Review Symposium, Sexual Crimes and Offenses in an Era of Reform.

                    In October 2015, I gave a presentation at the Kansas Law Review Symposium on
                     Sexual Assault discussing Title IX issues, including trauma, due process, climate
                     surveys, and college code definitions of rape.

                    In September 2014, I was a keynote speaker at Harvard Law School’s “Teach-In,”
                     Title IX and Campus Rape Policy Reform where I spoke about Title IX
                     controversies and specifically the Adler and Barnett cases at CU Boulder.

          49.       I have also given the following recent lectures and presentations about affirmative

   consent:



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                 In June 2017, I presented a paper on affirmative consent in criminal law and
                  college codes at the International Conference of Law and Society in Mexico City.

                 In November 2016, I discussed my work on affirmative consent and campus rape
                  issues at the Vanderbilt Criminal Law Workshop.

                 In October 2016, I presented a paper on affirmative consent in criminal law and
                  college codes at the Emory Law School Vulnerability and the Law Workshop.

                 In January 2016, I discussed affirmative consent standards in criminal and college
                  codes at the Association of American Law Schools Symposium on Sexual Assault

                 In November 2015, I presented a paper on affirmative consent in criminal law and
                  college codes at the Florida International University School of Law faculty
                  colloquium.

                In October 2013, I gave a lecture to the Harvard Defenders on feminism and
                 criminal law, with a focus on rape law and policy.

                In June 2013, I presented a talk entitled “Rape Costs” on the issue of rape culture
                 and Title IX at the Harvard Global Law and Policy Conference.
          I declare under the penalty of perjury that the foregoing is true and correct, pursuant to
   Title 28, United States Code, Section 1746.
   Dated: February 19, 2018



                                                       __________________________________
                                                                   AYA GRUBER




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